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           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                             CENTRAL DIVISION


 EAGLEVIEW TECHNOLOGIES, INC., and
 PICTOMETRY INTERNATIONAL CORP.,                    PATENT CASE SCHEDULING ORDER

               Plaintiffs,                          Case No. 2:21-cv-00283

 v.                                                 Judge Ted Stewart

 NEARMAP US, INC.,                                  Magistrate Judge Daphne A. Oberg

               Defendant.


       Pursuant to Fed. R. Civ P. 16(b), the Court received the Attorney Planning Report (Doc.
No. 55) filed by counsel. The Court schedules the following matters. The parties may not
modify the times and deadlines set forth herein without the approval of the Court and on a
showing of good cause pursuant to Fed. R. Civ. P. 6.

ALL DEADLINES ARE SET FOR 11:59 P.M. ON THE DATE INDICATED UNLESS
EXPRESSLY STATED TO THE CONTRARY


(1) PRELIMINARY MATTERS/DISCLOSURES

                                   Event                                      Date
 Plaintiff’s Accused Instrumentalities disclosure due [LPR 2.1, 7        December 6, 2021
 days from Answer]
 Last day to hold Rule 26(f)(1) Conference and begin discovery            January 3, 2022
 [LPR 1.2, 1.3, 35 days from Answer]
 Plaintiff’s Rule 26(a)(1) initial disclosure due                         January 7, 2022
 [LPR 2.2, 21 days from answer]
 Attorney Planning Meeting Report and Proposed Scheduling Order          January 10, 2022
 submitted [LPR 1.2, 7 days from 26(f) Conference]

 Defendant’s Rule 26(a)(1) initial disclosure due [LPR 2.2, 28 days      January 14, 2022
 from Answer]
 Plaintiff serves Initial Infringement Contentions [LPR 2.3, 35 days     February 10, 2022
 from Defendant’s Initial Disclosures]
 Defendant serves Initial Non-Infringement, Unenforceability, and        February 24, 2022
 Invalidity Contentions [LPR 2.4, 14 days from Infringement
 Contentions]
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                                  Event                                            Date
    Final Infringement Contentions [LPR 3.1, 21 weeks from Initial             June 30, 2022
    Contentions]
    Final Unenforceability and Invalidity Contentions [LPR 3.1, 14 days        July 14, 2022
    from Final Infringement Contentions]
    Final Non-Infringement Contentions [LPR 3.2, 28 days from Final            July 28, 2022
    Infringement Contentions]

(2) DISCOVERY LIMITATIONS

                                  Event                                         Limitation
    Maximum number of depositions 1 by Plaintiff(s)                                10
    Maximum number of depositions 2 by Defendant(s)                                10
    Maximum number of hours for each deposition (unless extended by                 7
    agreement of parties)
    Maximum interrogatories 3 by any party to any party                              25
    Maximum requests for admissions by any party to any party                       200
    Maximum requests for production by any party to any party                       100

The parties shall handle a claim of privilege or protection as trial preparation material asserted
after production as set forth in the Standard Protective Order for the United States District Court
for the District of Utah.

                                     Event                                         Date
    Deadline to serve written discovery before claim construction [R.          July 26, 2022
    34]
    Close of fact discovery before claim construction [LPR 1.3(a), 28       September 8, 2022
    days from Exchange of CC Terms]
    Disclosure of intent to rely on opinions of counsel and materials in     7 days after claim
    support [LPR 1.3(c), 7 days from Entry of CC Ruling]                    construction ruling
    Deadline to file motion for additional discovery [LPR 1.3(b)]           14 days after claim
                                                                            construction ruling

(3) AMENDMENT OF PLEADINGS/ADDING PARTIES

                                   Event                                          Date
    Last day to file motion to amend pleadings                             September 14, 2022


1
  Excluding depositions of experts.
2
  Excluding depositions of experts.
3
  An interrogatory or multiple interrogatories seeking the basis of a party’s affirmative defenses,
infringement contentions, or invalidity contentions counts as one interrogatory regardless of the
number of affirmative defenses alleged or the number of infringed or invalid claims alleged. A
party may object to the time of discovery as set forth in LPR 1.7.
                                                   2
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    Last day to file motion to add parties                                 September 14, 2022

(4) CLAIM CONSTRUCTION PROCESS

                                    Event                                          Date
    Parties exchange proposed claim terms and claim constructions for          August 11, 2022
    construction [LPR 4.1(a), 14 days from Final Non-Infringement
    Contentions]
    Reach agreement to submit no more than 10 terms for construction           August 18, 2022
    [LPR 4.1(b), 7 days from Exchange of Terms]
    Parties file Cross-Motions for Claim Construction and Joint              September 15, 2022
    Appendix [LPR 4.2(a) & (b), 35 days from Exchange of Terms]
    Parties file Simultaneous Responsive Claim Construction Briefs            October 6, 2022
    [LPR 4.2(c), 28 days from Opening Briefing]                            [21 days from Opening
                                                                             Claim Construction
                                                                                   Briefs]
    Joint Claim Construction Chart & Joint Status Report Due [LPR            October 13, 2022
    4.2(f), 7 days from Responsive Briefing]
    Tutorial for Court [LPR 4.4, 14 days from Responsive Briefing]            October 20, 2022

    Parties exchange exhibits [LPR 4.3]                                      7 days before claim
                                                                            construction hearing

    Claim Construction Hearing 4 [LPR 4.3]                                           TBD

(5) EXPERT DISCOVERY

                                   Event                                            Date
    Parties bearing burden of proof [LPR 5.1(b)]                           28 days after claim
                                                                           construction ruling
    Counter reports [LPR 5.1(c), 28 days after opening reports]            56 days after claim
                                                                           construction ruling
    Close of expert discovery [LPR 5.2, 35 days after rebuttal reports]    91 days after claim
                                                                           construction ruling

(6) DISPOSITIVE MOTIONS

                                   Event                                           Date
    Deadline to file dispositive motions required to be filed with claim     September 15, 2022
    construction [LPR 6.2, at Opening CC Briefing]




4
          Parties should contact the Court to set the date for the Claim Construction Hearing.

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  Deadline to file opposition to dispositive motions filed with claim      October 13, 2022
  construction [LPR 6.2, DUCivR 56-1, 7-1, 28 days from
  Dispositive Motion]
  Deadline to file reply to dispositive motions filed with claim           October 27, 2022
  construction [LPR 6.2, DUCivR 56-1, 7-1, 14 days from
  Opposition]
  Deadline for filing partial or complete motions to exclude expert      105 days after claim
  testimony                                                              construction ruling
 Deadline for filing dispositive or potentially dispositive motions      119 days after claim
 [LPR 6.1, 28 days from Close of Expert Discovery]                       construction ruling

(7) SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION/OTHER PROCEEDINGS

                                  Event                                         Yes/No
 Likely to request referral to a Magistrate Judge for settlement        No
 conference
 Likely to request referral to court-annexed arbitration                No
 Likely to request referral to court-annexed mediation                  No
 Last day to seek stay pending reexamination [LPR 3.5]                  August 11, 2022
 The parties will complete private mediation/arbitration by:            TBD
 The parties will evaluate case for Settlement/ADR on:                  TBD
 Settlement probability:                                                Low

Plaintiff is directed to file a new scheduling order within 14 days of ruling on claim
construction. The Court will set trial deadlines in that order or through a case management
conference.

(8) OTHER MATTERS

All Motions in Limine should be filed well in advance of the Final Pretrial Conference.

    DATED this 11th day of January, 2022.

                                                     BY THE COURT:


                                                     ______________________________
                                                     Daphne A. Oberg
                                                     United States Magistrate Judge




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